Case 4:21-cv-00475-P-BP Do nt Neg-9 31/21 Pagelof22 PagelD1
Pro Se 1 (Rev, 12/16) Complaint for a Civil Case Hay 4 eh g aps g

  

UNITED STATES DISTRICT COURT
for the
District of

Division OO Mw

 

 
 

Case No. & “ 2 i C i]

(to be filled in by the Clerk's Office)

 

(had), Ma rusak

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

“Yu

Jury Trial: (check one} [| ves [ ]No

Sema Cnstruction, Lne. _ _—

Defendant(s)
(Write the full name of each defendant who is being sued, If the
names of ail the defendants cannot fit in the space above, please
write “see attached” in the space and aitach an additional page
with the full list of names.)

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COMPLAINT FOR A CIVIL CASE

I The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

needed,
Name _Chod Marugak, =
Street Address 40 HAL Ave &
City and County _Olnay _Young a
State and Zip Code FOxAS 20394

 

Telephone Number 817 3423 ins
E-mail Address trans port withem @ gmaildom
B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if known). Attach additional pages if needed.

Page | of 3

 
Case 4:21-cv-00475-P-BP Document 1 Filed 03/31/21 Page 2of22 PagelD 2
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1

Name — Sema Corstea chien

 

 

 

 

 

Job or Title (if known)

Street Address _ £321 Mustang dr. #300
City and County 0 VIA. Z. Tavrmt.

State and Zip Code Te LE, hos!

Telephone Number O11- 251-5001

E-mail Address if known) =

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

Telephone Number

 

E-mail Address (finown)

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title ffknown)
Street Address

 

 

City and County
State and Zip Code

 

 

Telephone Number

 

E-mail Address (if known)

 

Page 2 of 5

 

 
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Pro Se 1 (Rev. £2/16) Complaint for a Civil Case

i.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check alt that apply)
Xlrederal question [J Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case. Z2& US¢ /331- Federal Laur , Civil Rights Title vit (1444)
Pap P Diserimtnection Ach , ADA, ADEA( TITLE yil- 2.9 CER Part loo, thos, 16% Bk ves)
erctinuiag Haras8ment ! RIGHT To sult E€ee AFreh Compe4ainér
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ivisim ~ 29 CFR 1606.8 Apeernidix A, and 524 lis 2 0998), er US TIS
ADA Amendment Het 0f 2008 CUUsdot) EFRECT - t1Fé Funrcpenty PEPNDAN, HALAS ARATE:

B. if the Basis for Jurisdiction Is Diversity of Citizenship AFTER mie weNe geey a |

 

1, The Plaintiff(s)

a. ff the plaintiff is an individual
The plaintiff, (name) , iS a citizen of the

 

State of (name)

 

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of fname} >

 

and has its principal place of business in the State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of

 

(foreign nation)

 

Page 3 of 5
Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page 4of22 PagelD 4
Pro Se | (Rev. 12/16) Complaint fora Civil Case

b. If the defendant is a corporation
The defendant, (ame) S Ona. “Q vw HT uu Gon, Dre , 1s incorporated under
the laws of the State of (ame) TRXWS . ASA , and has its

 

principal place of business in the State of (name) 2/ of 2 Jo USA

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at +

stake—is more than $75,000, not counting interest and costs of ee because (explain):* 320, ca =»?
rita LB gus of Ncontquing harassment? PlalayTe recerdad 4-7

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defendant is represented by an attorney. Denmgted- Feb gyn

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Ot fury March 7,209 Créating ol’sebilify and Matpility fave

IL Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed,

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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitied to actual or

punitive money damages. /7. ht ty Sue t3sadof f-e-202/, Flahg}brf more
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page - continued
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lst pey check S- JO clays tates Duly i- 5 - Receiyes Sarcastic texts when requesting of
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Defendant (Sena Const,-Ia0) locations fr hs WS. CD Septem ber 6ctober 2628,

+ CONS Bus) breaches phan tts personal information
Sure \ Ut leders) notification via mails -~— LAA

3 bes/202)

 
Pro Se 1 (Rev, 12/16) Complaint for a Civil Case

Vv. Certification and Closing

Case 4:21-cv-00475-P-BP Document 1 Filed 03/31/21 Page 6of22 PagelD6

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not bemg presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfiivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served, I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 4-4 D- 402 {

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

 
 

 

GC ng Ge vu cade.

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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Return Mail Processing Center
P.O. Box 6336
Portland, OR 97228-6336

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CHAD M MARUSAK
404 N AVENUE F
OLNEY TX 76374

October 1, 2020

Re: Notice of Data Breach
Dear Chad M Marusak:

SEMA Construction, Inc. (“SEMA”) writes to inform you of an event that may impact the privacy of some of your
personal information, We wanted to provide you with information about the event, our response, and steps you may
wish to take to better protect against the possibility of identity theft and fraud.

What Happened? SEMA was the victim of a phishing campaign which resulted in the compromise of certain
SEMA account credentials. SEMA immediately began working with third-party forensic investigators to determine
which SEMA personnel received the malicious phishing emails and what mformation may have been affected as a
result. SEMA also immediately took steps fo implement additional procedures to protect the security of employee
information and limit account access,

On August 4, 2020, the third-party forensic investigators confirmed that the sophisticated phishing-attack may have
resulted in a compromise to some of our employees’ personal information. SEMA subsequently took steps to confirm
the identity of the employees whose personally identifiable information may have been impacted. On August 21,
2020, our investigation identified the employees that may have been affected by this incident.

What Information Was Involved? Through the third-party forensic investigation, we confirmed that the phishing
incident may have resulted in the compromise of personal information. The information at risk as a result of the event
potentially includes your name, Social Security number, bank account and routing number, passport information, and
driver’s license number.

What We Are Doing. SEMA takes this incident and the security of your personal information seriously, Upon
discovery, we immediately launched an investigation to determine the nature and scope of the event and to identify
impacted individuals. We are reviewing our policies, procedures, and processes related to handling of and access to
personal information,

As an added precaution, SEMA is providing you with access to 12 months of credit monitoring and identity protection
services through Epiq. A description of services and instructions on how to enroll can be found within the enclosed
Steps You Can Take to Protect Your Personal Information. Please note that you must complete the enrollment process

yourself, as we are not permitted to enroll you in these services on your behalf.

What You Can Do. You can review the enclosed Steps You Can Take to Protect Your Personal Information. We also
encourage you to review your financial and account statements and report all suspicious activity to the institution that
issued the record immediately.

For More Information. We understand that you may have questions about this incident that are not addressed in this

letter. If you have additional questions, please call our dedicated assistance line at 888-490-0597, Monday through
Friday, between 7:00 a.m. and 7:00 p.m. Mountain Time.

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Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page 10o0f22 PagelD 10
Steps You Can Take to Protect Your Personal Information

Enroll in Credit Monitoring.

As a safeguard, we have arranged for you to enroll, at no cost to you, in an online credit monitoring service
(myTrueldentity) provided by TransUnion Interactive, a subsidiary of TransUnion®, one of the three nationwide
credit reporting companies.

Howto. Enroll: You can sign up onlincor via ILS, mail delivery

* To enroll in this service, go to the myTrueldentity website at www.MyTrueldentitv.com and, in the space
referenced as “Enter Activation Code,” enter the 12-letter Activation Code FONTVFJIMHJILC and follow
the three steps to receive your credit monitoring service online within minutes.

* If you do not have access to the Internet and wish to enroll in a similar offline, paper-based credit
monitoring service, via U.S, mail delivery, please call the TransUnion Fraud Response Services toll-free
hotline at 1-855-288-5422. When prompted, enter the six-digit telephone passcode 698127 and follow the
steps to enroll in the offline credit monitoring service, add an initial frand alert to your credit file, or to
speak to a TransUnion representative if you believe you may be a victim of identity theft.

You can sign up for the online or offline credit monitoring service anytime between now and December 31,
2020. Due to privacy laws, we-cannot register you. directly. Please. note that credit monitoring services might not
be available for individuals who do not have a credit file with TransUnion or an address in the United States (or
its territories) and a valid Social Security number. Enrolling in this service will not affect your credit score,

Monitor Your Accounts,

To protect against the possibility of identity theft or other financial loss, we encourage you to remain vigilant, to
review your account statements, and to monitor your credit reports for suspicious activity,

Credit Reports,

Under U.S. law, you are entitled to one free credit report annually from each of the three major credit reporting
bureaus, To order your free credit report, visit www.annualcreditreport.com or call, toll-free, 1-877-322-8228. You
may also contact the three major credit bureaus directly to request a free copy of your credit report.

Security Freeze,

You have the right to place a “security freeze” on your credit report, which will prohibit a consumer reporting agency
from releasing information in your credit report without your express authorization. The security freeze is designed
to prevent credit, loans, and services from being approved in your name without your consent. However, you should
be aware that using a security fieeze to take control over who gets access to the personal and financial information in
your credit report may delay, interfere with, or prohibit the timely approval of any subsequent request or application
you make regarding a new loan, credit, mortgage, or any other account involving the extension of credit, Pursuant to
federal law, you cannot be charged to place or lifta security freeze on your credit report. Should you wish to place a
security freeze, please contact the major consumer reporting agencies listed below:

Experian TransUnion Equifax
P.O. Box 9554 P.O. Box 2000 P.O. Box 105788
Allen, TX 75013 Chester, PA 19016 Atlanta, GA 30348
1-888-397-3742 1-888-909-8872 1-888-298-0045

www.experian.com/freeze/center htm! wyow.transunion.com/credit-freeze www.equifax,com/personal/
credit-report-services

 

To remove the security freeze, you must send a written request to each of the three credit bureaus by mail and include
proper identification (name, address, and Social Security number) and the PIN number or password provided to you
when you placed the security freeze. The credit bureaus have three (3) business days afier receiving your request to
remove the security freeze,

As an alternative to a security freeze, you have the right to place an initial or extended “fraud alert” on your file at no
cost. An initial fraud alert is a 1-year alert that is placed on a consumer’s credit file, Upon seeing a fraud alert display
on a consumer's credit file, a business is required to take steps to verify the consumer’s identity before extending new
credit. If you are a victim of identity theft, you are entitled to an extended fraud alert, which is a fraud alert lasting
seven years, Should you wish to place a fraud alert, please contact any one of the agencies listed below:

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CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
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Statement and other information before completing this form.

 

 

 

 

 

 

 

 

 

 

 

EEOC 451-2020-00900
Texas Workforce Commission Civil Rights Division and EEOC
_ State or local Agency, if any _.
Name (indicate Mr,, Mds., Mrs.} ™ OO Home Phone (inch. Avea Coda) Date of Birth |
Mr. Chad L. Marusak (817) 323-4103 1971
Street Addrass Cily, State and ZIP Code

404 N. Avenue F, Olney, TX 76374

 

Named is tha Employer, Labor Organization, Employment Agency, Apprenticeship Commitiee, or State or Local Government Agency That | Belleve
Discriminated Against Me or Others. {/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No, Eaiployass, Mamibars Phone No. (include Area Coda}
SEMA CONSTRUCTION Unknown
Streat Address City, State and ZIP Code

John Bay Road, Haslet, TX 76052

 

 

 

 

 

Name No. Emptoyees, Members Phane No. (include Area Cade)

Street Address City, Stale and ZIP Code

DISCRIMINATION SASED ON (Check appropriate boxfes).} DATE(S) DISCRIMINATION TOOK PLACE
Eatiest Latest

[ RACE [| COLOR [| SEX [| RELIGION | NATIONAL ORIGIN 03-06-2019 07-01-2019

[| RETALIATION AGE DISABILITY [] GENETIC INFORMATION

OTHER (Specify) [| CONTINUING ACTION

 

 

 

THE PARTICULARS ARE {if additional paper is needed, attach extra sheet(s)):
I. PERSONAL HARK:
A i was discriminated based on my Disability in that | was demoted, had my hours reduced, and
ultimately terminated.
B. { was harassed based on my Disability that included but was not limited to my injury was not
timely reported, | had a change in job duties and responsibilities, and reduced hours not allowed to
work when the rest of the crew worked.
Cc. | was discriminated against based on my Age (47) in that | was replaced by a younger
employee between the age of 26-30.

i. RESPONDENT'S REASON FOR ADVERSE ACTION:
A. Can't do job | was hired to do.
5. Gan't do job | was hired to do.
c, Can't do job | was hired to do.

 

 

| want this charge filed with both the EEOC and the Slate or local Agency, if any. | NOTARY — When necessary for Stale and Local Agency Requirements
will aelvise the agencies if | change my address of phone number and t will
cooperate fully with them in the processing of my charge In accordance with their

 

 

 

 

procedures. | swear or affirm that ! have read the above charge and that it is true to
i declare under penalty of pexjury that the above is {rue and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

f SUBSCRIBED AND SWORN TO SEFORE ME THIS DATE
- - ¢ (month, day, year)

Date Charging Party Signature

 

 

 

 

 
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PRIVAGY. ACT STATEMENT: Lnggs the Bevan Act of 1274. lb diaw 93-7, aulboriytn reauest, 1

per
1. FORM NUMBERITITLEIDATE. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES, The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC siatutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4. ROUTINE USES, This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to ihe respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title Vil, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment, Itis not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handie the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4{d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.

 

 
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EEOC Form 5 (1E/09}

 

 

CHARGE OF DISCRIMINATION Charge Presented To: {gray les) Charge
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ | FEPA
Statement and other information before completing this form.
[x ] EE0c 450-2021-00558

 

TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION and EEOC

State or local Agency, if any

 

 

Name (indicate Mr, Ms., Mrs.) Home Phone Year of Birth
MR. CHAD MARUSAK (817) 323-4103 1971
Street Address City, State and ZIP Cade

404 N AVENUE F, OLNEY,TX 76374

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That | Believe Discriminated Against Me or Others. (/*/ more than two, fist under PARTICULARS befow.)

 

 

 

 

Name No. Employees, Members Phone No.
SEMA CONSTRUCTION 15 ~ 100 (817) 251-5001
Street Address City, State and ZIP Code

2331 MUSTANG DRIVE, SUITE 300, GRAPEVINE, TX 76051

 

 

 

 

 

Name No. Employees, Members Phone No,

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate boxfes).} DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 07-02-2019 11-09-2020

RETALIATION [x] AGE [x] DISABILITY [] GENETIC INFORMATION
[] OTHER (Specify) [x] CONTINUING ACTION

 

 

THE PARTICULARS ARE (/f additional paper is needed. attach extra sheet{s)}:
il. PERSONAL HARM:

a. | have been subjected to harassment by Respondent from July 1-15, 2019, while
withholding pay for two weeks, and I received sarcastic and patronizing texts from the
Respondent.

b. In December 2019, Respondent refused to give me access to my personal information to
file additional complaints.

c. From july until August 2020, I received harassing communication via my phone from
Respondent personnel who demoted, terminated, and retaliated against me.

d. On September through October 2020, Respondent breach my personal information.

 

 

I want this charge filed with both the EEOC and the State or focal Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. 1 will advise the agencies If | change my address or phone number
and j will cooperate fully with them in the processing of my charge in

 

accordance with their procedures. | swear or affirm that | have read the above charge and that it

 

 

| declare under penalty of perjury that the above is true and correct. is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINGNT

nh Yul,

SWORN TO BEFORE ME THIS DATE

  
   

Digitally signed by Chad Marusak on 11-10-2020 SUBSCRI
02:02 PM EST (month, day, year)

 

 

 
Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page14of22 PagelD 14

EEOC Form 5 (11/09)

 

CHARGE OF DISCRIMINATION Charge Presented To: ydencylles) Charge
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x] EEoc 450-2021-00558

 

 

TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION and EEOC

State or focal Agency, if any

 

 

H. RESPONDENTS REASON FOR ADVERSE ACTION:

a. No reason was given.

b. No reason was given.

c. No reason was given.

d. No reason was given.

Hl. DISCRIMINATION STATEMENT:

| believe that | was discriminated against because of my age (48), in violation of the Age
Discrimination in Employment Act of 1967; | also believe | have been retaliated against in
violation of Section 4(d) of the Age Discrimination in Employment Act of 1967, as amended.
| believe that | was discriminated against based on disability, in violation of the Americans

with Disabilities Act of 1990; 1 also believe | have been retaliated against in violation of
Section 503(a) of the Americans with Disabilities Act of 1990, as amended.

 

 

 

I want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. | will advise the agencies if | change my address or phone number
and | will cooperate fully with them in the processing of my charge in

 

 

accordance with their procedures. | swear or affirm that | have read the above charge and that it

 

 

| declare under penalty of perjury that the above is true and correct. is true ta the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

ot . Ulu... tie Ly
Digitally signed by Chad Marusak on 11-10-2020 SUBSCRIBED AND SWORN TO-GEFORE MP THIS DATE

02:02 PM EST (month, day, years

 

 

 
c£0C Fam 161 HSE 4:21-Cv-O045 SEGAL BABLOVMENT OPPORTUNITY ComMIgsHEnlS Of 22 PagelD 15

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Ghad Marusak From: = Dallas District Office
404 N Avenue F 207 S. Houston St.
Olney, TX 76374 3rd Floor

Dallas, TX 75202

 

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601. 7(a))
EEOC Charge No. EEOC Representative Telephone No.

Juan F. Munoz,
450-2021-00558 Intake Supervisor (972) 918-3607

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

The facts alleged in the charge fail to state a claim under any of the statutes enforced by ihe EEOC.
Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent empioys less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too Jong after the date(s) of the alleged
discrimination to file your charge

A oood

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes viclations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEGC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UL

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information atfached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a iawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

for C22 4/6/2021

Enclosures(s) — Belinda F. MoCatist: er, (Date Mailed)
District Director
oc:

Magana Bertha

Safety Coordinator
SEMA CONSTRUCTION
2331 Mustang Drive
Suite 300

Grapevine, TX 76051
Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page 16of22 PagelD 16
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT
for the
District of

Division

Case No.

 

(to be filled in by the Clerk’s Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
if the names of ail the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
ao

Jury Trial: (check one) [] Yes [No

 

Defendani(s)
(Write the full name of each defendant whe ts being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

i el

COMPLAINT FOR A CIVIL CASE

I, The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code

 

 

 

 

Telephone Number
E-mail Address

 

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title fifknown), Attach additional pages if needed.

Page lof 5

 
Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page1/7of22 PagelD 17
Pro Se | (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1

Name

 

Job or Title fif known)
Street Address

City and County
State and Zip Code
Telephone Number

 

 

 

 

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (Gf knewn)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title Gf known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if knewn)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Page 2 of 5

 

 
Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page 18of22 PagelD 18

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

IL.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check aff that apply)
[Federal question [| Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. H the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

B. If the Basis for Jurisdiction Is Diversity of Citizenship

 

 

1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, ¢aame) , is incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (name)

 

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

 

a. Ifthe defendant is an individual
The defendant, (ame) , is a citizen of
the State of (name) . Oris 4 citizen of

 

(foreign nation)

 

Page 3 of 5

 

 
Case 4:21-cv-00475-P-BP Document1 Filed 03/31/21 Page19o0f22 PagelD 19

Pro 8¢ 1 (Rev. 12/16} Complaint for a Civil Case

TE.

 

b. If the defendant is a corporation
The defendant, (ame) , 1s incorporated under
the laws of the State of frame) , and has its

 

principai place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

 

and has its principal place of business in (name)

 

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy~the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the atnounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Page 4 of 5

 

 
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Pro Se t (Rev. 12/16) Complaint for a Civil Case

 

Vv. Certification and Closing

 

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, wili likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

T agree to provide the Clerk’s Office with any changes to my address where case—-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

 

 

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

Page 5 of 5

 
JS 44 (Rev. 10/20} - TXND (10/20) TVIL COV
The JS 44 civil cov? GSP oat einen Gata fed Fein ni OCGA de Ee ONE? no PAREG Ft PhuePpapers a Sahin Ad law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS DEFENDANTS ‘ ~
Wiavusale Chad L. Semee Construch om . Ene,
{b)} County of Residence of First Listed Plaintiff You nig County of Residence of First Listed Defendant Tavy Ant
{EXCEPT IN U.S. PLAINTIFF CASES} (IN U.S. PLAINTIFF CASES ONLY}

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVE

 

 

 

 

 

 

 

 

 

  
 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
     

 

 

 

 

 

 

{c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
IE. BASIS OF JURISDICTION {Place an "“X" in One Box Only) C0, CITEZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[}1 U.S. Government f]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Goverament Not a Party) Citizen of This State (14 [4 1 Incorporated or Principal Place [14 [44
of Business In This State
[]2 US. Government [}4 Diversity Citizen of Another State (12 (1) 2 Incorporated and Principal Place =] 5 []5
Defendant (ndicate Citizenship of Parties in Item ID of Business In Another State
Citizen or Subject of a CT} 3 cj 3 Foreign Nation []«6« [6
Foreign Country
IV. NATURE OF SUIT race an a in One Box Only} Click here for: ° i Sy
i ~~ CONTRACT “TORTS oo ‘-FORFETTURE/PENALTY 22 BANKRUPTCY 2 OTHER STATUTES }
116 lagurance PERSONAL ENJURY PERSONAL INJURY | 4625 Dmg Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane LC] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Aiplane Product Product Liability $690 Other 28 USC 157 a 3729{u)}
146 Negotiable Instrument Liability | 367 Health Care/ 400 State Reapportionment
[ "}150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical GATS 41) Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers* Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability CL] 368 Asbestos Personal 835 Patent- Abbreviated | | 460 Deporiation
Student Loans 340 Marine Injury Product _ New Drug Application [| | 470 Racketeer Influenced and
(Excludes Veterans) 345 Macine Product Liability 840 Trademark Corrupt Organizations
EJ 153 Recovery of Overpayment Liability PERSONAL PROPERTY ve LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (i5 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |] 485 Telephone Consumer
[ 7} 198 Other Contract Product Liability [| 380 Other Personal | }720 Labor/Management SOCIAL SECURITY": Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395) 490 Cable/Sat TV
196 Franchise Injury Cl 385 Preperty Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commotities!
| 362 Personal Injury - Product Liability 751 Family and Medicai 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
“REAL PROPERTY [CIVIL RIGHTS | PRISONER PETITIONS | _}790 Other Labor Litigation 865 RSI (405(g)) |_| 891 Agricultural Acts
210 Land Condernuation |_| 440 Other Civil Rights Habeas Corpus: |_}791 Employee Retirement _ |_| 893 Environmental Matters
226 Foreclosure || 441 Voting [| 463 Atien Detainee Income Security Act FEDERAL TAX SUITS — 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | 510 Motions to Vacate |_| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant} 896 Arbitration
245 Tort Product Liability Accommedations || 530 General [| 871 1RS—Third Party 899 Administrative Procedure
| 1290 All Other Real Property bal 445 Amer. w/Disabilities - | 535 Death Penalty “IMMIGRATION |: 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
|] 446 Amer, w/Disabilities -[] 540 Mandamus & Other 465 Other Immigration [| 950 Constitutionality of
Other $450 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
¥. ORIGIN (Place an “X" in One Box Only)
| Original C72 Removed from 3 Remanded from Cl 4 Reinstated or I 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U. Ss. Civil Statute under which you are filing (Do no cite sdarietcional statutes uniess diversity). “Weenab act * 1973, AGE/D-.
vi 0) ADA-AD: 29 CRR thos 60g ack o€ (G93
VI. CAUSE OF ACTION Brief description of cause: wave somewt , iv. Dicehia an jak a Apes Vi May an lasting te tof {2020
AbA ped, cn Con liatws il arte . |
VI. REQUESTED IN [J CHECK IFTHISISA a ACTION DEMAND $ CHECK YES only if dementcl in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv-P. 300.000 JURYDEMAND: — [Ives [No
VIL RELATED CASE(S)
(See lastructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

 

——

 
t Case 4:21-cv-00475-P-BP Document 1 Filed 03/31/21 Page 22 of 22 PagelD 22

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

207 SOUTH HOUSTON STREET
DALLAS, TEXAS 75202-4726

DALLAS DISTRICT OFFICE

Official Use

   
       

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LAS kate, 2

BOERS. Eee i

  

Chad Marusak
404 N Avenue F
Olney, TX 76374

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